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IN THE UNlTED STATF_`.S DISTRICT COURT
FOR THE WESTERN DISTRICT OF` TENNESSEE}T
EASTERN DlVISlON

 

UNITED STATES OE AMERICA,
Plaintiff,

v<a. N0.0S~lOOO

MARY CHRISTINE GREEN,

Defendant.

 

MoTIoN To RESET SENTEN<::[?!

 

   
  

Comea now the defendant, Mary Christi e Green, by and through
her court-appointed counsel of record, ichael J. Stengel, Esq.,
and movee this Court to reset her 3 tencinq currently Scheduled
for Friday, July 29, 2005 at 8:3Qia.m. In Support thereof, MS.
Green would ehow: ,

/

l. Defense counsel will/be out of town attending the Death

Penalty College in Santa ara, California from July 29 - August 5,

 
 
   
   
     
 
  

2005.

2. The under gned is acheduled to be in Nashville, TenneSSee
on August ? a August 8, 2005, accompanying a client expected to
testify i federal court that Monday. Defense counsel currently
antic` ates trying a case in federal court in Memphis, Tenneesee
du ing the remainder of the week of August 8, 2005. l will be out

townFJ\llyeE€BiBivon Friday, AuguSt l9, 2005.

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LlS.DEnnctJudge <%§§

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3. Defense counsel received Ms. Green's presentence report on
July 8, 2005, less than the thirty~five days prior to sentencing
required by L.Cr.R. 32.l(b),

4. The undersigned_ has discussed this motion with AUSA
Kitchen, who has no objection to Ms. Green’s sentencing being
reset.

WHEREFORE, PREMISES CONSIDERED, Ms. Green prays this Court
grant her motion and reset her sentencing to sometime on or after

August 15, 2005, but not August 19, 2005.

Respectfully submitted,

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Michaei J. stengel (igzeo)
Attorney for Defendant
50 N. Front Street, Suite 850

Memphis, Tennessee 38103
(901) 527-3535

Certificate of Service
l hereby certify that l have served a copy of the foregoing
upon Mr. Jerry Kitchen, 109 S. Highland Ave., Suite 300, Jackson,

renness@e 38301, this _E§j@ day ar Juiy, 2005.

/M» ad

Michael J. Stengel

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 1:05-CR-10004 Was distributed by faX, mail, or direct printing on
July ]5, 2005 to the parties listed.

 

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Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

